      Case:18-05288-ESL11 Doc#:105 Filed:01/30/19 Entered:01/30/19 16:17:34                           Desc:
                          Order Granting (Generic) Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:                                                     Case No. 18−05288 ESL

SKYTEC INC
                                                           Chapter 11

66−0564236

                                                           FILED & ENTERED ON 1/30/19
                        Debtor(s)



                                                     ORDER

The motion filed by Debtor to withdraw Objection to Claim No. 3−2 (docket #102) is hereby granted .

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Wednesday, January 30, 2019 .
